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                                   UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                                              Case No. 19-00815-swd
Cassandra Renea Ford,                                                         Chapter 13
                                                                              Hon. Scott W. Dales
                                     Debtor                                   Filed: 03/04/2019
                                                       /

                                             ORIGINAL CHAPTER 13 PLAN
PREAMBLE

To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable.

              In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated.

               You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
               have an attorney, you may wish to consult one.

               If you oppose the Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file an objection
               to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
               Bankruptcy Court. The Bankruptcy Court may confirm this Plan without further notice if no objection to confirmation is
               filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any
               Plan.

               The following matters may be of particular importance. Debtors must check one box on each line to state whether or not
               the Plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
               provision will be ineffective if set out later in the Plan.

A limit on the amount of a secured claim, set out in Paragraph III.C.2.c and III.C.1.f., which           Included          Not included
may result in a partial payment or no payment at all to the secured creditor
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in           Included           Not included
Paragraph IV.R.
Nonstandard provisions, set out in Paragraph IV.R.                                                       Included           Not included


I.   PLAN PARAMETERS
     A. APPLICABLE COMMITMENT PERIOD (ACP) - 11 U.S.C. § 1325(b)(4).
         ( ) The ACP is 60 months.
         ( x ) The ACP is 36 months. However, the duration of payments may be extended to complete the Plan.
     B. LIQUIDATION ANALYSIS.
         1. The amount to be distributed to holders of allowed unsecured claims shall not be less than the value of the non-exempt
            equity of the Debtor(s) less the costs of sale. The liquidation value of the estate as required by 11 U.S.C. § 1325(a)(4) is
            $0.00.
         2.    The estimated base amount to be paid to the general unsecured creditors is $______________.




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II.   FUNDING
      A. PLAN PAYMENT. The Debtor(s) shall make payments in the amount of $118.00 per ( ) week, ( x ) bi-weekly, (                                                ) semi-
         monthly, ( ) monthly, and/or ( ) other (see Additional Plan Payment Provisions) for the minimum of the ACP.
           (    ) Additional Plan Payment Provisions:
III. DISBURSEMENTS
      A. ADMINISTRATIVE CLAIMS. The Debtor(s) shall pay in full, in deferred cash payments, all allowed claims entitled to priority
         under 11 U.S.C. § 507, including:
           1.    Court filing fee.
           2.    Trustee fee.
           3.    Attorney fees exclusive of costs and expenses: An initial fee of $1,500.00 less fees paid of $500.00, leaving a fee balance in
                 the amount of $1,000.00 to be paid by the Trustee pursuant to the priorities set forth in paragraph IV.H of the Plan, unless
                 otherwise marked below:
                 a.   ( ) Attorney fees shall be paid at the rate of $__________ per month until paid in full pursuant to paragraph IV.H of
                      the Plan.
                 b.   ( x ) Attorney fees shall be paid after all necessary equal monthly payments on secured continuing claims, secured
                      claims, assumed executory contract/unexpired lease claims which is a modification of paragraph IV.H.
           4.    Expenses advanced to the Debtor(s) (paid by the attorney to the Clerk of the Court or the service provider) include:
                 $N/A filing fee (enter amount or N/A);
                 $N/A mandatory credit counseling or financial management class (enter amount or N/A); and
                 $N/A other (explain and enter amount, or enter N/A).


      B. PRIORITY CLAIMS.
           1.    Domestic Support Obligation (DSO) i: Prepetition DSO payment arrears as of the petition date shall be paid directly by
                 the Debtor(s) unless marked below:
                      (     ) by the Trustee.
           Mandatory information:
                          Name of DSO Payee(s)                                         Monthly Amount                                   Estimated Arrears




           2.    a.   Prepetition Priority Tax Claims: Prepetition priority tax claims are allowed claims entitled to priority under 11
                      U.S.C. § 507 and shall be paid in full by the Trustee.
           Mandatory information:
                          Creditor Name                                               Estimated Amount ii                                 Nature of Debt
                          Internal Revenue Service                               $2,278.00                                         Income taxes


                 b. Post-Petition Priority Tax Claims: Absent objection, post-petition priority tax claims shall be paid in full pursuant to 11
                    U.S.C. § 1305(a)(1) and (b). Any portion of a post-petition claim under 11 U.S.C. § 1305 that is not paid through the
                    Plan for whatever reason, including dismissal or conversion to Chapter 7, will remain non-dischargeable, even if the
                    Debtor(s) receive(s) a discharge.



i
  The Debtor(s) will comply with 11 U.S.C. § 1325(a)(8) and shall, prior to confirmation of the Plan, provide the Trustee with an affidavit or other evidence (e.g., wage
deduction, a statement from friend of the court, or a statement from the recipient) that all post-petition, pre-confirmation DSO payments are current.

ii
 The amount stated is an estimate only and the proof of claim controls as to the amount of the claim. This provision does not preclude any party in interest from filing an
objection to the claim.


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            3.    Other Priority Claims and Plan Treatment:


      C.    SECURED CLAIMS.
            1.    Real Property:
                  a.    Mortgage Payments: Unless otherwise stated, the Trustee shall commence paying the first post-petition mortgage
                        payment on the first day of the month following the month of the petition date.
                  b. Principal Residence Post-Petition Mortgage Payments and Prepetition Arrears: The following is the street address
                     and the tax ID parcel no. for the principal residence of the Debtor(s):
            Property No. 1____________________                                        Property No. 2____________                      _                       ____


                          Creditor Name                                   Estimated Monthly               Estimated Arrears iv                 Taxes & Insurance
                                                                          Payment Amount iii                                                Escrowed With Lender?
                                                                                                                                                      Y/N
                          #1
                          #2
                 c.     Non-Residential Post-Petition Mortgage Payments and Prepetition Arrears: The following is the street address and
                        the tax ID parcel no. for the non-residential real property of the Debtor(s):
            Property No. 1________________                                           __ Property No. 2___________

                          Creditor Name                                    Estimated Monthly                Estimated Arrearsiv                 Taxes & Insurance
                                                                           Payment Amountiii                                                 Escrowed With Lender?
                                                                                                                                                       Y/N
                          #1
                          #2
                 d.     Prepetition Real Property Tax Claims: Claims of taxing authorities on real property pursuant to State law will be paid
                        pro-rata as set forth in paragraph IV.H unless a fixed monthly payment is set forth below after the post-petition on-
                        going mortgage payment(s). v
                          Taxing Authority                                              Amount                         Delinquent                   Optional Equal
                                                                                                                        Tax Years                  Monthly Payment




                  e.    Real Property Tax Escrow:
                        The Debtor(s) will not utilize a tax escrow with the Trustee unless marked below.
                        ( ) The Debtor(s) will utilize a tax escrow through the Plan. The Debtor(s) must provide the tax bill to the Trustee and
                        verify taxes are paid each year until completion of the Plan. Tax escrow accounts will fund after on-going monthly
                        mortgage payments but prior to other secured creditors.




iii
    The monthly payment amount is an estimate and the Trustee shall pay the monthly payment amount based on the proof of claim as filed. The Plan authorizes the Trustee
to make post-petition regular mortgage or land contract payments prior to the proof of claim being filed. This provision does not preclude any party in interest from filing an
objection to the claim.

iv
   The amount of prepetition arrears is an estimate and the Trustee shall pay the prepetition arrears based on the proof of claim as filed. Any claim filed for prepetition
arrears shall be paid through the Plan over a reasonable period of time and pro-rata with other secured creditors without interest.

v
  Any creditor in this class shall retain its lien on the real property pursuant to applicable State law and shall be entitled to receive its statutory interest and collection fees as
set forth in its proof of claim.


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                         Real Property Address                                   Parcel Number                  Taxing Authority                Monthly Escrow
                                                                                                                                                  Amount




                 f.    Wholly Unsecured Liens: The following claims shall be treated as unsecured by this Plan because there is no equity in
                       the property to secure the claim. Upon completion of the Plan, the lien shall be discharged and removed from the
                       property. The Debtor(s) may move under Fed. R. Bankr. P. 7070, on notice to the holder of such a claim who refuses to
                       release the lien, for an order declaring the lien released and for related relief. These claims are as follows:
                         Property Address                          Creditor                    Claim Amount vi                Property                 Senior Lien
                                                                                                                               Value                    Amount




           2.    Personal Property:
                 a.    Pre-Confirmation Adequate Protections Payments (APP): If the Trustee is to pay pre-confirmation APP the secured
                       creditor’s name, address, the account number and the payment amount must be provided and it must be signified by
                       entering the monthly payment amount in the box marked “Pre-Conf. APP” under b. or c. of this paragraph. The Trustee
                       will not disburse an APP until a proof of claim is filed with documentation of a perfected lien satisfactory to the Trustee.
                 b. Secured Claims Subject to Final Paragraph of 11 U.S.C. § 1325(a): Each secured creditor in this class has a lien that is
                    not subject to 11 U.S.C. § 506. vii Claims in this class shall be paid as follows plus an additional pro-rata amount that may
                    be available from funds on hand at an interest rate specified below or the contract rate specified in the proof of claim,
                    whichever is lower.
                         Creditor, Address &                      Collateral                  Balance Owing            Interest       Pre-Conf.        Equal Monthly
                         Account No.                                                                                     Rate           APP              Payment




                 c.    Secured Claims Subject to 11 U.S.C. § 506 viii: Claims in this class shall be paid as follows plus an additional pro-rata
                       amount that may be available from funds on hand at an interest rate specified below or the contract rate specified in
                       the proof of claim whichever is lower. Creditor will be paid the fair market value (FMV) as a secured claim and any
                       balance due as a general unsecured claim.
                         Creditor, Address &                          Collateral                        FMV            Interest       Pre-Conf.        Equal Monthly
                          Account No. ix                                                                                 Rate           APP              Payment
                         Consumers Credit Union                 2011 Ford Taurus             $5,500.00                5.5%           $55.00            $55.00
                         P.O. Box 525
                         Oshtemo, MI 49077
                         Acct#9200563550




vi
  This is the estimate of the Debtor(s) as to the amount owing to the creditor. The proof of claim shall control as to amount of the claim. This provision does not preclude
any party in interest from filing an objection to the claim.

vii
    Such a claim is not subject to “cramdown” and will be paid the full balance owing. If the collateral is a motor vehicle and is destroyed, the Debtor(s), with consent from the
secured creditor and Trustee, or by order of the Court, may use the collateral insurance proceeds to purchase replacement collateral, to which the creditor’s lien shall attach.

viii
     If the collateral is a motor vehicle and is destroyed, the Debtor(s), with consent from the secured creditor and Trustee or by order of the Court, may use the
collateral insurance proceeds to purchase replacement collateral, to which the creditor’s lien shall attach.

ix
 If the creditor files a proof of claim with a balance owing which is different from the amount listed above, the proof of claim shall control as to the amount of the
debt, unless a party in interest objects to the proof of claim.


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           3.    Secured Claims of Taxing Authorities: Secured claims of taxing authorities shall be paid as follows:
                  Creditor & Address                            Collateral                           Secured Claim          Interest         Equal Monthly
                                                          Real/Personal Property                       Amount x              Rate xi           Payment




           4.    Collateral to Be Surrendered/Executory Contracts to Be Rejected: The property listed below is surrendered to the creditor,
                 and the executory contracts/unexpired leases are rejected:
                  Creditor                                                                             Property/Contract Description
                  Edward Rose & Sons                                            Landlord/tenant


                 The automatic stay shall be terminated upon entry of the confirmation order and any deficiency claim or claim arising from
                 rejection shall be treated as a general unsecured claim, subject to paragraph IV.G.
           5.    Junior Lien Holders on Surrendered Property: If a creditor holding a junior lien has filed a secured proof of claim, such
                 claim shall be treated as a general unsecured claim if the value of the property, set forth below in the column entitled
                 “Property Value,” is equal to or less than the amount of the senior secured claim, absent an objection. These creditors are
                 as follows:
                  Creditor, Address &                        Property Address                Claim Amountix           Property Value              Senior Lien
                  Account No.                                                                                                                      Amount




     D. ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following executory contracts and/or unexpired leases,
        including land contract(s), are assumed:
             Creditor, Address & Account             Property Description                    Monthly Payment              No. of Months           Cure Amount
             No.                                                                                Amount                     Remaining




     E.    DIRECT PAYMENT BY THE DEBTOR(S) OF THE FOLLOWING DEBTS. All claims shall be paid by the Trustee unless listed herein:
             Creditor, Address & Account No.                                 Collateral/Obligation                        Balance Owing                Interest
                                                                                                                                                         Rate




     F.    UNSECURED CREDITORS.
                 General Unsecured Creditors: Claims in this class are paid from funds available after payment to all other classes. The
                 allowed claims of general unsecured creditors will be satisfied by:
                 ( ) Payment of a dividend of 100%, plus present value of _____% interest, if necessary to satisfy 11 U.S.C. § 1325(a)(4), OR

x
  The amount stated is an estimate only and the proof of claim controls as to the amount of the claim. This provision does not preclude any party in interest from filing
an objection to the claim.
xi
 The interest rate on tax claims that is in effect during the calendar month in which the plan is confirmed shall control. 11 U.S.C. § 511(b). The Trustee has the
authority to make adjustments to its records to comply with the Bankruptcy Code.


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                     ( x ) Payment of a pro-rata share of a fixed amount of $1,000.00 or payment from all disposable income to be received by
                          the Debtor(s) in the ACP, whichever pays more. This fixed amount shall be reduced by additional administrative
                          expenses including attorney fees approved under 11 U.S.C. § 330(a). However, this fixed amount shall not be reduced
                          below the liquidation value specified in paragraph I.B.
       G.      SPECIAL UNSECURED CREDITORS. The special unsecured claims listed below are an exception pursuant to 11 U.S.C. § 1322(b)(1)
                   and may include, but are not limited to, non-sufficient funds (NSF) checks, continuing professional services and non-
                   dischargeable debts (e.g., student loans, criminal fines). xii These special unsecured claims shall be paid as follows:
                     In a 36 month ACP case with the base to general unsecured creditors paid within 36 months, the special unsecured
                     creditors will be paid pro rata with other general unsecured claims during the first 36 months and then that portion of the
                     special unsecured creditor’s claim that can be paid during the remainder of the 60 months from the date the first Plan
                     payment is due will be paid exclusive of all other general unsecured claims during the remaining 60 months.
                     In a 36 month ACP case with the base to general unsecured creditors paid beyond 36 months, the special class unsecured
                     creditors will be paid pro rata with other general unsecured claims during the first 36 months and until the specific fixed
                     base amount to the general unsecured creditors is satisfied and then that portion of the special unsecured creditor’s claim
                     that can be paid during the remainder of the 60 months from the date the first Plan payment is due will be paid exclusive of
                     all other general unsecured claims during the remaining 60 months.
                     In a 60 month ACP case, special unsecured creditors will be paid pro rata with the general unsecured creditors during the
                     60 months.
                      Special Unsecured Creditor Name                                              Reason For Special Treatment                Interest
                                                                                                                                                 Rate




IV. GENERAL PROVISIONS
         A. DISPOSABLE INCOME, TAX RETURNS & TAX REFUNDS. Debtor(s) submit(s) all or such portion of future earnings or other future
            income of Debtor(s) to the supervision and control of the Trustee as is necessary for the execution of the Plan. Unless this Plan
            provides for a dividend of 100% to all allowed general unsecured claims, the Debtor(s) shall pay all disposable income as defined
            in 11 U.S.C. § 1325(b) during the ACP. Unless otherwise provided in this Plan, Debtor(s) shall remit to the Trustee tax returns and
            tax refunds and other disposable income for the ACP for administration pursuant to the Plan or as otherwise ordered by the
            Court. Income tax refunds and other disposable income paid to the Trustee in a Plan with a 36 month ACP will operate to
            decrease the term of the Plan to the ACP but not below the 36 month ACP, rather than increase the dividend paid to general
            unsecured creditors. The Debtor(s) shall continue the same level of tax deductions as when the case was filed except as affected
            by changes in dependents and/or marital status.
                          Based on the disposable income available, the Trustee shall have the discretion without further notice to creditors
               to:
                          1.    Increase the percentage to the unsecured creditors as a result of additional payments made under this provision
                                subject to the limitation set forth in this paragraph;
                          2.    Reduce the term of the Plan but not below the ACP; and
                          3.    Determine if available funds are not disposable income when the Debtor(s) provide(s) the Trustee with supporting
                                documentation.
         B. VESTING OF ESTATE PROPERTY. Upon confirmation of the Plan, all property of the estate shall remain property of the estate
            until discharge unless marked below:
               ( ) Pursuant to 11 U.S.C. § 1327(b) upon confirmation of the Plan, all property of the estate shall vest in the Debtor(s), except
               (i) future earnings of the Debtor(s); (ii) additional disposable income, and (iii) other real and personal property necessary to fund
               the Plan which is identified as follows:
                        Regardless of whether any real or personal property is vested in the Debtor(s) or the estate, insurance proceeds derived
               from such real or personal property shall be deemed property of the estate. Subject to footnotes vii and viii of paragraph III.C.2,
               such insurance proceeds may be used by the Debtor(s), upon prior Court approval, to purchase replacement collateral.




xii
      If the table below is blank, or this case has a 60 month ACP, then there will be no special treatment for special unsecured creditors.

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              In any case, all property of which Debtor(s) retain(s) possession and control shall be insured by the Debtor(s). The
     Trustee is not required to insure property and has no liability for damage or loss to any property in the possession and control of
     the Debtor(s).
C.   POST-PETITION ACTION BY DEBTOR(S).
     1.   Post-Petition Sale of Property of Estate: In the event that the Debtor(s) seek(s) to sell, before entry of the discharge,
          property of the estate constituting personal property with a value in excess of $2,500, or any real property regardless of
          value, the Debtor(s) shall request prior Court approval pursuant to 11 U.S.C. § 363 and any applicable rules.
     2.   Post-Petition Sale of Property of Debtor(s): In the event that the Debtor(s) seek(s) to sell, before entry of the discharge,
          personal property of the Debtor(s) with a value in excess of $2,500, or any real property regardless of value, the Debtor(s)
          shall seek prior Court approval with notice to any parties in interest as the Court may direct.
     3.   Post-Petition Incurrence of Debt by Debtor(s) and Related Relief: Upon the prior written approval of the Trustee, the
          Debtor(s) may incur post-petition debt for a motor vehicle, whether through financing or lease transaction. The Debtor(s)
          may trade in an existing motor vehicle provided that the Debtor(s) satisfy in full any obligations related to such motor
          vehicle. The Debtor(s) may incur other, similar post-petition debt as allowed by the Court.
D. UNSCHEDULED CREDITORS FILING CLAIMS. If a creditor’s claim is not listed in the schedules, but the creditor files a proof
   of claim, the Trustee is authorized to classify the claim into one of the classes under this Plan and to pay the claim within
   the class, unless the claim is disallowed.
E.   LATE FILED CLAIMS. If a claim is not timely filed, the Trustee may in his/her discretion provide notice of intent to pay the
     claim.
F.   LIMITATION ON NOTICES.
     1.   General: If the Debtor(s) file(s) a plan modification pursuant to 11 U.S.C. § 1329 or a motion requesting relief, the plan
          modification or motion, and appropriate notice thereof, shall be served on (a) the Trustee, (b) the United States Trustee,
          and (c) any party or entity adversely affected by the plan modification or request for relief. If service under (c) requires
          service on the creditor matrix, subsequent to the claims bar date pursuant to Fed. R. Bankr. P. 3002, service may be made
          on creditors that hold claims for which proofs of claim have been filed, and any governmental unit that is a creditor in the
          case.
     2.   Fee Applications: Subsequent to the claims bar date pursuant to Fed. R. Bankr. P. 3002, if an attorney for the Debtor(s) files
          an application for compensation pursuant to 11 U.S.C. § 330, the application, including appropriate notice and an
          opportunity to object, shall be served on (a) the Trustee, (b) the Debtor(s), and (c) the United States Trustee. Appropriate
          notice of the application, including an opportunity to object in the same form as attached to the Local Bankruptcy Rules,
          shall be served on (a) creditors that hold claims for which proofs of claim have been filed, and (b) any governmental unit
          that is a creditor in the case.
     If service is made pursuant to this paragraph, the Debtor(s) shall file a certificate of service specifying parties and entities served.
G. CLAIMS AND AMENDED CLAIMS. If a proof of claim is filed and Trustee has previously made a distribution to general unsecured
   creditors, the claim shall be entitled to the same pro rata distribution as that previously paid to general unsecured claims, to the
   extent possible, even if the base to general unsecured claims exceeds the amount stated in the confirmed Plan. The Trustee
   shall not be required to recover any overpayments to general unsecured creditors as a result of the filing of the aforementioned
   claims.
     1.   With respect to secured claims filed by creditors holding liens in real property surrendered pursuant to the Plan, each such
          secured creditor must file a proof of claim asserting its unsecured deficiency, if any, by no later than 90 days after any
          disposition, including a foreclosure sale. The proof of claim for any deficiency must be conspicuously identified as an
          “UNSECURED DEFICIENCY CLAIM.” Attached to the proof of claim for the deficiency amount must be a detailed statement
          providing that the property was disposed of, the amount of the sale proceeds, a summary of costs incurred in connection
          with the disposition, and the unsecured deficiency balance remaining. This proof of claim must be filed even though a
          previous secured or unsecured claim was asserted prior to the disposition of the property. The failure to timely file a
          deficiency claim shall preclude the secured creditor from receiving further distributions under the Plan and such secured
          creditor’s claim shall be subject to discharge.
     2.   With respect to secured claims filed by creditors holding liens in personal property surrendered pursuant to the Plan and
          non-debtor counterparties whose executory contracts or unexpired leases are rejected under the Plan, each such secured
          creditor or non-debtor counterparty must file a claim asserting its unsecured deficiency or rejection damages, if any, by no
          later than 180 days after entry of the order confirming the Plan. The proof of claim for any deficiency or rejection damages
          must be conspicuously identified on the proof of claim as an “UNSECURED DEFICIENCY CLAIM” or a “REJECTION DAMAGES
          CLAIM,” as applicable. Attached to the proof of claim for the deficiency or rejection damages must be a detailed statement
          providing, if applicable, the date the property was disposed of, the rejection damages, the amount of any sale proceeds, a
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                 summary of costs incurred in connection therewith, and the unsecured deficiency balance remaining. This proof of claim
                 must be filed even though a previous secured or unsecured claim was asserted prior to the surrender, rejection, or
                 disposition of the property or rejection of the executory contract or unexpired lease. The failure to timely file a deficiency
                 or rejection damages claim means that such creditor or non-debtor counterparty shall be precluded from receiving further
                 distributions under the Plan and such claim shall be subject to discharge.
           3.    A claimant treated as holding a wholly unsecured claim pursuant to paragraph III.C.1.f shall file a proof of claim within the
                 time prescribed in Fed. R. Bankr. P. 3002(c), and any such claimant who does not file a proof of claim is not entitled to
                 receive a distribution under the Plan. If such claimant files a secured proof of claim, the Trustee is authorized to treat such
                 claimant as holding an unsecured claim.


           H. TRUSTEE POST-CONFIRMATION DISBURSEMENT.
                 1.    Priority of Payments: Unless otherwise specifically stated in the Plan, the following categories of claims will be paid in
                       the following order (on a pro-rata basis within each category):
                       a.    unpaid court filing fees, regardless of any Plan provision to the contrary;
                       b.    trustee administrative fee;
                       c.    allowed DSO claims paid through the Plan;
                       d.    attorney fees and expenses, as allowed by an Order of the Court, subordinated to monthly continuing claims
                             payments covered under 11 U.S.C. § 1322(b)(2);
                       e.    continuing, long-term, nonmodifiable allowed claims xiii;
                       f.    other allowed secured claims (including arrears) and allowed claims arising from assumed executory contracts or
                             unexpired leases (including any cure) with respect to which (i) the last payment will become due within the term of
                             the Plan; and (ii) the Plan provides for equal monthly payments;
                       g.    arrears on continuing claims and other secured claims for which the Plan does not specify equal monthly
                             payments;
                       h.    allowed priority unsecured claims; and
                       i.    allowed general unsecured claims.
                 2.    Post-Petition Mortgage Payments: If the Plan directs the Trustee to make any post-petition mortgage payment, the
                       Trustee may:
                       a.    modify the on-going mortgage payment upon receiving a notice pursuant to Fed. R. Bankr. P. 3002.1(b);
                       b.    increase the Plan payment by the amount of any mortgage payment increase plus additional trustee commission
                             for any mortgage increase;
                       c.    amend a wage order or ACH payment amount for such increase with notice to the employer or ACH payor,
                             Debtor(s) and the attorney for the Debtor(s); and
                       d.    adjust the post-petition mortgage or land contract payment date, or the date through which any arrears or cure is
                             calculated, as needed to conform to any proof of claim filed by the mortgagee or land contract vendor.
                 3.    Initial Disbursement Date: Except as otherwise stated in this Plan, a payment designated as equal monthly payments
                       on secured claims, executory contracts/unexpired leases, priority unsecured claims, attorney fees, and tax escrow
                       accruals shall be deemed to commence the first day of the month following the month of the petition date.
     I.    TAX RETURNS. All tax returns due prior to the petition date have been filed, except: _______________.
     J.    DEBTOR(S) ENGAGED IN BUSINESS.
           1.    Any Debtor who is self-employed and incurs trade credit in the production of income shall comply with 11 U.S.C. § 1304
                 regarding operation of the business and any order regarding the continuation of a business operation entered in this case;
           2.    Any Debtor who, directly or indirectly, holds a controlling interest in a limited liability company, partnership or other
                 corporation that incurs trade credit in the production of income, or who is otherwise in control of such an entity, shall cause


xii
    Claims in this category include non-modifiable claims, including allowed secured claims, on which the last payment is due after the term of the Plan, and for which the Plan
provides for a set monthly payment (subject to adjustment as set forth below). This category includes residential mortgage obligations, land contract obligations, and other
long term, non-modifiable obligations under assumed executory contracts/unexpired leases.

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          the entity to comply with 11 U.S.C. 1304(c) and any order regarding continuation of a business operation entered in this
          case as if the Debtor were "engaged in business" within the meaning of that section;
     3.   The duties listed in 11 U.S.C. § 1304(c) are imposed on any Debtor described in this Paragraph IV.J, and are incorporated
          herein by reference.
K. EFFECT OF ADDITIONAL ATTORNEY FEES BEYOND THE NO LOOK FEE. Any attorney fees and expenses beyond the no-look fee
   shall be paid as administrative expenses and shall not be paid out of the base previously disbursed to general unsecured
   creditors. The Trustee shall not recover funds disbursed to general unsecured creditors to satisfy any administrative expenses
   awarded to the attorney for the Debtor(s).
L.   PLAN REFUNDS. The Trustee may agree to reasonable refunds to the Debtor(s) from the funds paid to the Trustee. The Plan
     duration may be extended to repay all such refunds. The trustee may require the Debtor(s) to file an amendment to the Plan.
M. TRUSTEE’S AVOIDANCE POWERS. The Debtor(s) acknowledges that the Trustee has discretion to utilize certain powers under
   Chapter 5 of the Bankruptcy Code. Notwithstanding any other language in this Plan, no lien shall be involuntarily avoided unless
   an adversary proceeding is filed, except that judicial liens may be avoided pursuant to 11 U.S.C. § 522(f) in connection with
   confirmation of the Plan upon proper notice. The Debtor(s) may not commence any avoidance action without court
   authorization or written consent of the Trustee. The Debtor(s) acknowledge(s) that any avoidance actions are preserved for the
   benefit of the estate pursuant to 11 U.S.C. § 551.
N. LIEN RETENTION. With respect to each allowed secured claim provided for by the Plan, the holder of such claims shall retain the
   lien securing such claim until the earlier of (i) the underlying debt determined under applicable non-bankruptcy law is paid in
   full, or (ii) entry of the discharge; provided, however, that entry of the discharge shall not release a lien that secures a claim
   subject to treatment under 11 U.S.C. § 1322(a)(5). Upon the occurrence of (i) or (ii) above, the holder shall release its lien and
   provide written evidence of the same to the Debtor(s) within 30 days after (i) or (ii) above. Notwithstanding the foregoing, if this
   case of the Debtor(s) under Chapter 13 is dismissed or converted without completion of the Plan, the holder of such claim shall
   retain its lien to the extent recognized by applicable non-bankruptcy law.
O. MODIFICATION OF THE AUTOMATIC STAY. Upon the filing of a motion for relief from the automatic stay, the Trustee shall
   suspend disbursement of funds to that creditor but shall hold said funds until further order of the Court. Upon entry of an order
   modifying the automatic stay and unless otherwise provided for in such order, the Trustee shall not disburse held or on-going
   payments to that creditor on that claim, until creditor files an amended claim or Debtor(s) file(s) an amended Plan directing the
   Trustee how to pay creditor’s claim. Such amended proof of claim or Plan amendment shall be filed within 120 days after entry
   of the order modifying the automatic stay. An amended claim filed by such creditor shall be afforded the same secured status as
   provided for under the Plan. If a creditor fails to file an amended claim or Debtor(s) fail(s) to file an amended Plan directing the
   Trustee how to pay creditor’s claim within 120 days of the entry of the order modifying the automatic stay, any held amounts
   shall be released for the benefit of the other creditors in accordance with the confirmed Plan and Trustee shall cease holding any
   future funds for on-going payments on such claim unless otherwise ordered by the Court. However, if a creditor files a claim
   after the order modifying the automatic stay and the confirmed Plan directed that such creditor was to be paid directly by
   Debtor(s) on such claim, such claim will not be paid by the Trustee.
P.   NOTICE OF FEES, EXPENSES AND CHARGES PURSUANT TO FED. R. BANKR. P. 3002.1. The claim evidenced by notice of fees,
     expenses and charges pursuant to Fed. R. Bankr. P. 3002.1 will be treated as a separate debt or claim consistent with treatment
     of the underlying claim provided for under the Plan.
Q. NON-APPLICABILITY OF FED. R. BANKR. P. 3002.1. The requirements and provisions of Fed. R. Bankr. P. 3002.1 shall not apply to
   the Trustee in any chapter 13 case where the Plan as confirmed surrenders property to the creditor as provided in 11
   U.S.C. § 1325(a)(5)(C) or proposes that Debtor(s) pay the creditor directly or to any claim as to which the automatic stay is
   modified for purposes of allowing the secured creditor to exercise its rights and remedies pursuant to applicable non-bankruptcy
   law.




                                                       9- As updated on 11-23-16
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    R. NONSTANDARD PROVISIONS. Nonstandard provisions must be set forth below. A nonstandard provision is a provision not
       otherwise included in this Model Plan or deviating from it. Nonstandard provisions set out elsewhere in this Plan are
       ineffective and void. The following Plan provisions will be effective only if there is a check in the box “Included” in the
       Preamble.


    Debtor to retain the first $1,200.00 of her yearly income tax refunds. Any amount over $1,200.00 yearly to be paid into the
       Chapter 13 Plan.




BY FILING THIS DOCUMENT, THE ATTORNEY FOR THE DEBTOR(S) OR DEBTOR(S) THEMSELVES, IF NOT REPRESENTED BY AN ATTORNEY,
ALSO CERTIFY(IES) THAT THE WORDING AND ORDER OF THE PROVISIONS IN THIS CHAPTER 13 PLAN ARE IDENTICAL TO THOSE CONTAINED
IN THE APPROVED MODEL PLAN PURSUANT TO LOCAL BANKRUPTCY RULE 3015(d) FOR THE WESTERN DISTRICT OF MICHIGAN
BANKRUPTCY COURT, OTHER THAN ANY NONSTANDARD PROVISIONS INCLUDED IN PARAGRAPH IV.R.




Date:   3/4/19                                                   /s/ Cassandra Renea Ford
                                                              Cassandra Renea Ford, Debtor



Date:   3/4/19                                                   /s/ Roger J. Bus
                                                              Roger J. Bus (P30736), Counsel for the Debtor(s)




                                                       10- As updated on 11-23-16
